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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


  JANE DOE 1,                                    )
                                                 )
         Plaintiffs,                             )       Case No. 1:18-cv-3015-JRS-MJD
                                                 )
  vs.                                            )
                                                 )
  USA DIVING, INC.,                              )
  INDIANA DIVING ACADEMY, INC.,                  )
  d/b/a RIPFEST, JOHN WINGFIELD,                 )
  JOHEL RAMIREZ SUAREZ, and                      )
  ARCADIA CHURCH EVENTS &                        )
  SPORTS, LLC,                                   )
                                                 )
         Defendants.                             )

                       STIPULATION OF DISMISSAL WITH PREJUDICE OF
                                  PLAINTIFF JANE DOE 1

         Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii) Plaintiff Jane Doe 1, and

  Defendants Indiana Diving Academy, Inc. d/b/a Ripfest, John Wingfield, Johel Ramirez Suarez,

  and Arcadia Church Events & Sports, LLC, by their respective counsel, hereby stipulate to the

  dismissal of all claims in this cause of action as to Plaintiff Jane Doe 1, with prejudice, the parties

  to bear their own costs, including attorneys’ fees.

  Respectfully submitted,

  s/Joseph Mulvey (w/ permission)                     s/Steven Stapleton    (w/ permission)
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  s/Annemarie Alonso                            s/Ryan Duffin (w/ permission)
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                                   CERTIFICATE OF SERVICE

         I hereby certify that on the _26th_ day of January, 2022, a copy of the foregoing was filed
  electronically. Notice of this filing will be sent to the following parties by operation of the Court’s
  ECF. Parties may access this filing through the Court’s system:

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                                                      s/Annemarie Alonso
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